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                  EXHIBIT 6
     Sage Humphries Texts with Daryl Katz
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    • .. ••AT&T                    LTE                     4:27 PM

        ( Messages (2)                                         DK                            Details
                                     with me has checked out ok ;)
                                     I try to keep myself as busy as
                                     possible. If you ever want to come to
                                     the ballet please let me know!

             You're perfect Sage. That's what
             scares me.

                                    Don't be scared. Nobody's perfect(t

                                                      Today 4:26 PM


             Your acct is open at UBS. The guys
             wil put 25K in. I also told them to get
             you debit card and put some cash on
             it OR you won't buy yourself
             anything ....which I want you to do.

        a             trext Message                                                              Send




        Q            W               E          R          T        Y       U                0       p
         r
                 A             S           D         F         G        H       J        K       L
         '--,)            \.__,/         --       -~       \,__/     --     \,__/   \.__,/   --
        •                      Z           X        C          V        B       N       M

        123               (@               ~                       space               return
   -~                -~                  ~ '-----------'                            ______ ___,
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    eHeo    AT&T LTE              1:22 PM

    ( Messages                     DK                   Details
   ~-1rn1y-gc:ry::,-serra-u-n:mu::,----wnra-spena-
           it on/keep it for yourself?

                    of course I would keep it for myself. I
                    listened to all of the advice you gave
                    me the last time and I don't take
                    anything for granted.

           And just between us? Even though u
           r wise beyond your years given our
           respective ages it would be taken the
           wrong way.

                                     Yes .. Just between us

           OK will have one of my guys email u.
           He will send you 50K.

                   I'm completely speechless, thank you
                   so much ..

                       We still meeting up in ny in a couple
                       weeks??

           Will let u know when I figure out
           schedule. Likely the week of 19th.
           When r u off?

                       I have most weekends off unless we
                       are doing shows

     lfJ       Text Message                               Send
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